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                           UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO
                                             )
                                             )
 JAY CONNOR, individually and on             )       Case No. 1:24-cv-02286
 behalf of all others similarly situated,    )
                                             )
                        Plaintiff,           )
                                             )
         v.                                  )
                                             )
 SERVICEQUIK INC. d/b/a/ ZING                )     Request for Oral Argument
 BUSINESS MANAGEMENT                         )
 SOFTWARE                                    )
                                             )
 And                                         )
                                             )
 Woosender, Inc.                             )
                                             )
                        Defendant.           )

     Defendant ServiceQuik respectfully requests oral argument on its motion to

dismiss (Dkt. No. 38). Defendant anticipates that continued litigation will be expensive

and believes that oral argument will help the Court consider whether the Plaintiff states

a claim upon which relief can be granted under Rule 12(b)(6) of the Federal Rules of

Civil Procedure.

                                         Respectfully submitted,

                                         /s/ Daniel Summa
                                         _________________________________
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June 2, 2025
Charleston, SC


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